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 1                                 UNITED STATES DISTRICT COURT
 2                              NORTHERN DISTRICT OF CALIFORNIA
 3
 4    IN RE: SOCIAL MEDIA ADOLESCENT                     Case No. 4:22-MD-03047-YGR
      ADDICTION/PERSONAL INJURY
 5    PRODUCTS LIABILITY LITIGATION                      MDL No. 3047
 6

 7    This Document Relates to:
                                                       MASTER SHORT-FORM COMPLAINT
 8
      DYMAND MCNEAL                                    AND DEMAND FOR JURY TRIAL
 9

10

11
12           The Plaintiff(s) named below file(s) this Short-Form Complaint and Demand for Jury Trial
13   against the Defendants named below by and through the undersigned counsel. Plaintiff(s)
14   incorporate(s) by reference the allegations, claims, and relief sought in Plaintiffs’ Master Complaint
15   (Personal Injury) (“Master Complaint”) as it relates to the named Defendants (checked-off below),
16   filed in In Re: Social Media Adolescent Addiction/Personal Injury Products Liability Litigation,
17   MDL No. 3047 in the United States District Court for the Northern District of California.
18   Plaintiff(s) file(s) this Short-Form Complaint as permitted by Case Management Order No. 7.
19           As necessary herein, Plaintiff(s) may include: (a) additional Causes of Action and
20   supporting allegations against Defendants, as set forth in paragraph 11 in additional sheets attached
21   hereto; and/or (b) additional claims and allegations against other Defendants not listed in the Master
22   Complaint, as set forth in paragraph 7 (see n. 18) and may attach additional sheets hereto.
23           Plaintiff(s) indicate by checking boxes below the Parties and Causes of Actions specific to
24   Plaintiff(s)’ case.
25           Plaintiff(s), by and through their undersigned counsel, allege as follows:
26
27

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 1   I.    DESIGNATED FORUM

 2         1. For Direct Filed Cases: Identify the Federal District Court in which the Plaintiff(s)

 3              would have filed in the absence of direct filing:
 4                   United States District Court for the Eastern District of Pennsylvania

 5         2. For Transferred Cases: Identify the Federal District Court in which the Plaintiff(s)
 6              originally filed and the date of filing:
 7

 8   II.   IDENTIFICATION OF PARTIES
 9         A.       PLAINTIFF
10         3. Plaintiff: Name of the individual injured due to use of Defendant(s)’ social media
11              products:
12                   Dymand McNeal

13         4. Age at time of filing: Twenty Four (24) years old
14         5. City(ies) and state(s) where Plaintiff primarily used Defendants’
              platforms:
15                         Philadelphia, Pennsylvania
16         6. Last Name and State of Residence of Guardian Ad Litem, if applicable:
17
18         7. Name of the individual(s) that allege damages for loss of society or consortium
19              (Consortium Plaintiff(s)) and their relationship to Plaintiff, if applicable:
20
21         8. Survival and/or Wrongful Death Claims, if applicable:
22                  (a)     Name of decedent and state of residence at time of death:
23

24                  (b)     Date of decedent’s death:
25

26                  (c)     Name and capacity (i.e. executor, administrator, etc.) of Plaintiff(s)
27                          bringing claim for decedent’s wrongful death:

28

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 1        9. At the time of the filing of this Short-Form Complaint, Plaintiff(s) are residents and

 2             citizens of [Indicate State]:
 3                          Pennsylvania

 4        B.        DEFENDANT(S)

 5        10. Plaintiff(s) name(s) the following Defendants in this action [Check all that apply]:

 6          META ENTITIES                                        TIKTOK ENTITIES

 7                 ✔ META PLATFORMS, INC.,                          ✔ BYTEDANCE, LTD

 8                 formerly known as Facebook, Inc.                 ✔ BYTEDANCE, INC

 9                 ✔ INSTAGRAM, LLC                                 ✔ TIKTOK, LTD.

10                 ✔ FACEBOOK PAYMENTS, INC.                        ✔ TIKTOK, LLC.

11                 ✔ SICULUS, INC.                                  ✔ TIKTOK, INC.

12                 ✔ FACEBOOK OPERATIONS, LLC

13          SNAP ENTITY                                          GOOGLE ENTITIES
14                    SNAP INC.
15                                                                    GOOGLE LLC

16                                                                    YOUTUBE, LLC
            OTHER DEFENDANTS
17
18          For each “Other Defendant” Plaintiff(s) contend(s) are additional parties and are liable
            or responsible for Plaintiff(s) damages alleged herein, Plaintiffs must identify by name
19          each Defendant and its citizenship, and Plaintiff(s) must plead the specific facts
            supporting any claim against each “Other Defendant” in a manner complying with the
20          requirements of the Federal Rules of Civil Procedure. In doing so, Plaintiff(s) may
21          attach additional pages to this Short-Form Complaint.



22

23                  NAME                                       CITIZENSHIP

24             1

25             2

26             3

27             4

28             5

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 1        C.      PRODUCT USE
 2        11. Plaintiff used the following Social Media Products that substantially contributed to their
 3            injury/ies (check all that apply, and identify approximate dates of use, to the best of
              Plaintiff’s recollection):
 4
                   ✔ FACEBOOK
 5
                       Approximate dates of use: 01/01/2016                 to Present
 6
                   ✔ INSTAGRAM
 7

 8                     Approximate dates of use: 01/01/2014                 to Present

 9                    SNAPCHAT

10                     Approximate dates of use:                            to
11
                   ✔ TIKTOK
1
                       Approximate dates of use: 01/01/2020                 to Present
13
                      YOUTUBE
14
                       Approximate dates of use:                            to
15
                      OTHER:
16
17                      Social Media Product(s) Used              Approximate Dates of Use
18

19

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 1             D.      PERSONAL INJURY1
 2             12.    Plaintiff(s) experienced the following personal injury/ies alleged to have been
 3                    caused by Defendant(s)’ Social Media Products [Check all that apply]:
 4                             ✔ ADDICTION/COMPULSIVE USE

 5                                 EATING DISORDER
 6                                        Anorexia
 7                                        Bulimia
 8                                     Binge Eating
 9                                     Other:
                                   DEPRESSION
                               ✔
10
                               ✔ ANXIETY
11
                               ✔ SELF-HARM
12
13                                     ✔ Suicidality

14                                        Attempted Suicide
                                          Death by Suicide
15
                                          Other Self-Harm:
16                                 CHILD SEX ABUSE
17
                                   CSAM VIOLATIONS
18
                                   OTHER PHYSICAL INJURIES (SPECIFY):
19
20
21

22

23

24

25   1
         Plaintiff(s) must check-off all injuries allegedly caused by Plaintiff’s use of Defendant(s)’ Social
26
     Media Products. Plaintiff is not required to plead here emotional or psychological injuries inherent
27   in injuries otherwise identified, or all manifestations of the injury alleged which will be inquired
     into as part of the Plaintiff’s Fact Sheet (“PFS”). This Short-Form Complaint assumes that
28   emotional and psychological injuries are asserted by Plaintiff in connection with any injury
     otherwise identified.


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 1   V.        CAUSES OF ACTION ASSERTED
 2             13.    The following Causes of Action asserted in the Master Complaint, and the
 3                    allegations with regard thereto, are adopted in this Short Form Complaint by
                      reference (check all that are adopted):
 4
          Asserted Against2             Count    Cause of Action (CoA)
 5                                      Number

 6        ✔ Meta entities                  1     STRICT LIABILITY - DESIGN DEFECT
 7           Snap entity
           ✔ TikTok entities
 8           Google entities
             Other Defendant(s)
 9        ##                        3

           ✔ Meta entities                 2     STRICT LIABILITY - FAILURE TO WARN
10
               Snap entity
11        ✔ TikTok entities

12             Google entities
               Other Defendant(s)
13        ##
          ✔ Meta entities                  3     NEGLIGENCE - DESIGN
14           Snap entity
15         ✔ TikTok entities
             Google entities
16           Other Defendant(s)
          ##
17         ✔ Meta entities                 4     NEGLIGENCE – FAILURE TO WARN
18           Snap entity
          ✔ TikTok entities
19
             Google entities
20           Other Defendant(s)
          ##
21         ✔ Meta entities                 5     NEGLIGENCE
             Snap entity
22         ✔ TikTok entities
23           Google entities
             Other Defendant(s)
24        ##
25
26
     2
27     For purposes of this paragraph, “entity” means those defendants identified in Paragraph 7 (e.g.,
     “TikTok entities” means all TikTok defendants against which Plaintiff(s) is asserting claims).
     3
28     Reference selected Other Defendants by the corresponding row number in the “Other
     Defendant(s)” chart above, in Question 7.

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 1      ✔ Meta entities             6    NEGLIGENT UNDERTAKING
            Snap entity
 2
        ✔ TikTok entities
 3          Google entities
            Other Defendant(s)
 4     ##
 5
        ✔ Meta entities             7    VIOLATION OF UNFAIR TRADE
            Snap entity                  PRACTICES/CONSUMER PROTECTION LAWS
 6      ✔ TikTok entities
            Google entities              Identify Applicable State Statute(s):
 7          Other Defendant(s)
                                         73 Pa. Stat. Ann. §201-1, et seq.
 8     ##
        ✔ Meta entities             8    FRAUDULENT CONCEALMENT AND
 9          Other Defendant(s)           MISREPRESENTATION (Against Meta only)
       ##
10      ✔ Meta entities             9    NEGLIGENT CONCEALMENT AND
11          Other Defendant(s)           MISREPRESENTATION (Against Meta only)
       ##
12      ✔ Meta entities            10    NEGLIGENCE PER SE
            Snap entity
13
            TikTok entities
14          Google entities
            Other Defendant(s)
15     ##
            Meta entities          11    VIOLATIONS OF 18 U.S.C. §§ 1595 and 1591 (Civil
16
            Snap entity                  Remedy for Sex trafficking of children or by force,
17          TikTok entities              fraud, or coercion)
            Google entities
18          Other Defendant(s)
       ##
19
            Meta entities          12     VIOLATIONS OF 18 U.S.C. §§ 2255 and 2252 (Civil
20          Snap entity                  remedy Certain activities relating to material involving
            TikTok entities              the sexual exploitation of minors)
21          Google entities
22          Other Defendant(s)
       ##
23          Meta entities          13     VIOLATIONS OF 18 U.S.C. §§ 2252A(f), 1466A
            Snap entity                  (Civil remedy for Certain activities relating to material
24          TikTok entities              constituting or containing child pornography)
25          Google entities
            Other Defendant(s)
26     ##

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 1          Meta entities                     14       VIOLATIONS OF 18 U.S.C. §§ 2255 and 2252A(5)(b)
            Snap entity                               (Civil remedy for Certain activities relating to material
 2                                                    constituting or containing child pornography)
            TikTok entities
 3          Google entities
            Other Defendant(s)
 4     ##
 5          Meta entities                     15      VIOLATIONS OF 18 U.S.C. §§ 2258B and 2258A
            Snap entity                               (Liability related to Reporting requirements of providers
 6          TikTok entities                           regarding online child sexual exploitation)
            Google entities
 7          Other Defendant(s)
 8     ##
            Meta entities                     16      WRONGFUL DEATH
 9          Snap entity
            TikTok entities
10
            Google entities
11          Other Defendant(s)
       ##
12          Meta entities                     17      SURVIVAL ACTION
            Snap entity
13
            TikTok entities
14          Google entities
            Other Defendant(s)
15     ##
            Meta entities                     18      LOSS OF CONSORTIUM AND SOCIETY
16
            Snap entity
17          TikTok entities
            Google entities
18          Other Defendant(s)
       ##
19
20   VI.    ADDITIONAL CAUSES OF ACTION

21                                                         NOTE

22         If Plaintiff(s) wants to allege additional Cause(s) of Action other than those selected in paragraph 10,
           which are the Causes(s) of Action set forth in the Master Complaint, the facts supporting those
23         additional Cause(s) of Action, must be pled in a manner complying with the requirements of the
           Federal Rules of Civil Procedure. In doing so, Plaintiff(s) may attach additional pages to this Short-
24         Form Complaint.
25

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 1          14. Plaintiff(s) assert(s) the following additional Causes of Action and supporting
 2              allegations against the following Defendants:

 3

 4

 5
 6

 7

 8
 9          WHEREFORE, Plaintiff(s) pray(s) for relief and judgment against Defendants and all such
10   further relief that this Court deems equitable and just as set forth in the Master Complaint, and any
11   additional relief to which Plaintiff(s) may be entitled.
12                                          JURY DEMAND
13          Plaintiff(s) hereby demand a trial by jury as to all claims in this action.
14                                                    ****

15          By signature below, Plaintiff’s counsel hereby confirms their submission to the authority
16   and jurisdiction of the United States District Court for the Northern District of California for
17   oversight of counsel’s duties under Federal Rule of Civil Procedure11, including enforcement as
18   necessary through sanctions and/or revocation of pro hac vice status.

19
                                                             /s/ Emanuella J. Paulos
20                                                           Name Emanuella J. Paulos
                                                             Firm Levin, Papantonio, Rafferty, Proctor, B
21
                                                             Address 316 South Baylen Street, Suite 600 P
22                                                           Phone (850) 435-7061
                                                             Fax (850) 436-6009
23                                                           Email epaulos@levinlaw.com
24                                                           Attorneys for Plaintiff(s)


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